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10
                              UNITED STATES DISTRICT COURT
11
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
     HDMI LICENSING ADMINISTRATOR, INC.,       CASE NO.: 4:22-cv-06947-HSG
13
                     Plaintiff,                DECLARATION OF KERRY B.
14                                             BROWNLEE IN SUPPORT OF MOTION
          v.                                   TO RESCHEDULE CASE MANAGEMENT
15                                             CONFERENCE AND HEARING ON
     AVAILINK INC.                             MOTION TO DISMISS PURSUANT TO
16
                                               LOCAL RULE 6-3
                     Defendant.
17
                                               Complaint Filed: November 7, 2022
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          BROWNLEE DECLARATION IN SUPPORT OF MOTION TO RESCHEDULE CASE
            MANAGEMENT CONFERENCE AND HEARING ON MOTION TO DISMISS
                                [N.D. CAL. L.R. 6-3]
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 1          I, Kerry B. Brownlee, declare as follows:

 2          1.     I am an attorney with the law firm Epstein Drangel LLP, counsel for Plaintiff HDMI

 3 Administrator, Inc. (“Plaintiff” or “HDMI LA”) in the above-referenced action, and I make the

 4 statements set forth herein based on my personal knowledge.

 5          2.     On November 7, 2022, Plaintiff filed its Complaint (Dkt. No. 1).

 6          3.     Defendant executed a Waiver of Service of Summons sent by Plaintiff’s counsel on

 7 January 12, 2023, thereby making its deadline to file an answer or motion pursuant to Fed. R. Civ. P.

 8 12 ninety (90) days therefrom (i.e., up to and including April 12, 2023).

 9          4.     The Initial Case Management Conference (“CMC”) was originally set for February 14,

10 2023 (Dkt. No. 11), and the parties sought the first adjournment thereof, given that Defendant had not

11 yet retained local counsel, and the parties were in discussions regarding whether or not the dispute

12 could be resolved among them (Dkt. No. 13), which was granted by the Court, and adjourned the CMC

13 to April 25, 2023 (Dkt. No. 15).

14          5.     On April 12, 2023, Defendant filed a partial motion to dismiss the Complaint

15 (specifically, Counts II-IV) (Dkt No. 30) (the “MTD”).

16          6.     On April 25, 2023, the Court held a telephonic hearing wherein it continued the CMC

17 until the hearing date on Defendant’s MTD (July 20, 2023) (Dkt. No. 39).

18          7.     On May 12, 2023, the parties filed a second stipulated request to adjourn the CMC and

19 hearing on Defendant’s MTD until July 27, 2023 (Dkt. No. 43) in order to permit the parties time to
20 complete their in-person mediation, scheduled for July 12, 2023, and such stipulation was granted by

21 the Court.

22          8.     On July 12, 2023, the parties participated in an in-person mediation in San Jose,

23 California before John Bates, Esq. (the “Mediator”), after which Plaintiff agreed to discuss the terms of

24 Defendant’s settlement proposal internally, and with potentially affected parties, at an upcoming

25 meeting on August 8, 2023.

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           BROWNLEE DECLARATION IN SUPPORT OF MOTION TO RESCHEDULE CASE
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 1          9.     In order to permit the parties additional time to explore if settlement was possible before

 2 the CMC, and for the August 8, 2023 meeting to occur, the parties filed a third joint stipulated request

 3 to extend the CMC and hearing on Defendant’s MTD to October 12, 2023.

 4          10.    On August 22, 2023, the parties had a follow-up call among counsel and the Mediator

 5 to further discuss the prospect of settlement and during which Plaintiff set forth a counter offer.

 6          11.    On August 23, 2023, Defendant rejected Plaintiff’s counter offer, and it became clear

 7 that the parties are at an impasse regarding settlement.

 8          12.    On September 1, 2023, right before the Labor Day holiday, Defendant filed an Answer

 9 and Counterclaims against Plaintiff (Dkt. No. 49) (the “Counterclaims”).

10          13.    On September 13, 2023, the parties filed a stipulated request to extend Plaintiff’s

11 deadline to respond to Defendant’s Counterclaims until October 23, 2023 (Dkt. 50), which was granted

12 by the Court (Dkt. No. 51).

13          14.    After seeking the extension request, and after conferring further with its counsel, and

14 additional co-counsel specializing in antitrust matters, Plaintiff decided that it is going to move to

15 dismiss the Counterclaims, and informed Defendant’s counsel as such via email on September 18,

16 2023.

17          15.    In my email of September 18, 2023, I informed Defendant’s counsel, Vincent Filardo,

18 Jr., of Plaintiff’s plan to file a motion to dismiss (the “Anticipated Motion to Dismiss”), and asked if

19 Defendant would consent to an adjournment of the CMC and hearing on Defendant’s MTD until after
20 Plaintiff’s Anticipated Motion to Dismiss is fully briefed on November 13, 2023, and advised

21 Defendant’s counsel of the next available law and motion date on the Court’s calendar (December 14,

22 2023).

23          16.    On September 19, 2023, I received a response from Defendant’s counsel wherein he

24 advised, in relevant part, as follows: “[a]t this juncture the hearing on the MTD and CMC will be

25 delayed for nearly 3 months. HDMI’s putative motion to dismiss Availink’s Counterclaims is not a

26 reasonable basis to further delay the proceedings and the requested delay is not supported by federal
27 practice and procedure. Availink disagrees that it is necessary or would be efficient to further postpone

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            BROWNLEE DECLARATION IN SUPPORT OF MOTION TO RESCHEDULE CASE
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 1 the MTD hearing and CMC in light of that yet to be filed motion. Availink will not consent to any

 2 further adjournments.”

 3          17.    On September 19, 2023, I responded to Defendant’s counsel’s email and indicated, in

 4 relevant part as follows: “in Count II of Availink’s Counterclaims, it includes a claim for cancellation

 5 of U.S. Trademark registrations 3,268,924 and 3,442,135. The MTD seeks dismissal of HDMI LA’s

 6 direct and contributory trademark claims. Under 15 U.S.C. § 1119, a party only may seek cancellation

 7 ‘[i]n any action involving a registered mark’. Therefore, to the extent that Availink’s MTD is

 8 successful, that could have the potential to impact Availink’s standing to bring Count II. See San Diego

 9 Cty. Credit Union v. Citizens Equity First Credit Union, 2020 U.S. Dist. LEXIS 179341 (S.[D]. Cal.

10 September 29, 2020). Given this, and for the sake of efficiency, among other things, HDMI LA

11 believes that it is most practicable for the Court to consider all of the issues together at one hearing.

12 While Availink has indicated it ‘disagrees that it is necessary or would be efficient to further postpone

13 the MTD hearing and CMC in light of that yet to be filed motion’, it has not provided any factual basis

14 in support of the proposition that holding a hearing on October 12, 2023 on the MTD, and then a

15 second hearing in or about December 2023 on Plaintiff’s motion to dismiss would be the best use of

16 the parties’ and Court’s time and resources.”

17          18.    In my September 19, 2023 email, I also indicated that HDMI LA would proceed by way

18 of a motion to reschedule, given that Defendant does not consent to Plaintiff’s request.

19          19.    Plaintiff’s request will not impact any other deadlines, other than the parties’ deadline to

20 submit their updated case management statement.

21

22          I declare under penalty of perjury that the foregoing is true and correct.

23

24 DATED: September 20, 2023                       EPSTEIN DRANGEL LLP
                                                   By:  s/ Kerry B. Brownlee
25                                                      Kerry B. Brownlee
26
                                                   Attorney for Plaintiff
27                                                 HDMI Licensing Administrator, Inc.

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 2                                    CERTIFICATE OF SERVICE

 3         I hereby certify the on September 20, 2023, I electronically filed the foregoing document using

 4 the CM/ECF system, which will send notification of such filing to the email addresses registered in the

 5 CM/ECF system.

 6

 7 DATED: September 20, 2023                    By:    s/ Kerry B. Brownlee
                                                       Kerry B. Brownlee
 8                                                     Epstein Drangel LLP
 9
                                                Attorney for Plaintiff
10                                              HDMI Licensing Administrator, Inc.

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           BROWNLEE DECLARATION IN SUPPORT OF MOTION TO RESCHEDULE CASE
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